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   IT IS ORDERED as set forth below:



   Date: May 13, 2022
                                                         _________________________________

                                                                  Barbara Ellis-Monro
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                         :          CASE NO. 18-69497-BEM
                                               :
SANDRA BROOKS,                                 :          CHAPTER 7
aka Sandra Hitt Brooks                         :
aka Sandra Lynn Brooks,                        :
                                               :
         Debtor.                               :


         ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES

         On April 11, 2022, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate of

Sandra Brooks (“Trustee”), filed a motion for authority to pay administrative expenses of the

bankruptcy estate, seeking authority to pay up to $2,970.00 to the Georgia Department of

Revenue for State income taxes and $11,330.00 to the Internal Revenue Service for federal

income taxes for calendar year 2021 [Doc. No. 43] (the “Motion”).




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         In the Motion, Trustee shows that there are sufficient funds in this bankruptcy estate with

which to make the foregoing payments, and Trustee submits that such payments are proper as

administrative expenses of the bankruptcy estate.

         On April 12, 2022, Trustee filed a Notice of Trustee’s Motion for Authority to Pay

Administrative Expenses of Chapter 7 Estate; Deadline to Object; and for Hearing [Doc. No. 44]

(the “Notice”), in accordance with the Second Amended and Restated General Order No. 24-

2018, and setting a hearing on the Motion on May 17, 2022 (the “Hearing”). Counsel for

Trustee certifies that he served the Notice on all requisite parties in interest. [Doc. No. 45].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in the Second Amended and Restated General Order No. 24-2018. No objection to

the Motion was filed prior to the objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion; and, the Court having found that good

cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is granted and Trustee is authorized to pay up to $2,970.00

to the Georgia Department of Revenue for State income taxes and up to $11,330.00 to the

Internal Revenue Service for federal income taxes.

                                     [END OF DOCUMENT]




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Order prepared and presented by:


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Identification of parties to be served:

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